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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JANE DOE, et al.,                              :     Civil No. 3:21-CV-477
                                               :
             Plaintiffs,                       :
                                               :
             v.                                :
                                               :     (Magistrate Judge Carlson)
SCHUYLKILL COUNTY                              :
COURTHOUSE, et al.,                            :
                                               :
             Defendants                        :


                                      ORDER

THE BACKGROUND OF THIS ORDER IS AS FOLLOWS:

      This case—which presents allegations of workplace misconduct at the

Schuylkill County Courthouse involving alleged sexual harassment, assault, and

predation coupled with assertions of official indifference to the plight of the alleged

victims of this workplace violence—comes before us for the purpose of setting a case

management schedule and discovery limitations. On this score, the parties consented

to magistrate judge jurisdiction on October 13, 2021. (Doc. 61). However, prior to

that time the parties had proposed, and the court had adopted, a case management

plan and schedule for the case. (Docs. 55, 58).

      As we noted during a May 24, 2022 telephonic case management conference,

the parties appeared to have numerous disagreements and misunderstandings
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regarding the proper scope of discovery in this case, matters that they seem not to

have identified or addressed when they fashioned their initial case management plan

in this case. These disputes, disagreements, and misunderstandings run the gamut

from contests regarding the number of discovery requests which may be propounded,

to the location and duration of depositions, the timing of discovery and motions

practice, as well as procedures for resolving discovery disputes. Moreover, in many

instances, it seemed that the parties had given scant attention to the default discovery

limitations prescribed by the Local Rules of this court. L.R. 33.3, 36.1. As a result, it

seemed that parties had propounded discovery requests upon each other, largely

without objection, which vastly exceeded the number of requests contemplated by

the Local Rules. Further, the parties had some fundamental disagreements concerning

the meaning of the limitations set forth in their own case management plan, with the

plaintiffs reading those limitations in a far more expansive fashion than the

defendants. As a result, there are currently a plethora of outstanding written discovery

demands propounded in this case.1

      Beyond these mutual misunderstandings which had crept into the discovery

process, our decision to allow the United States to intervene in this case strongly




1
 For example, by our count the plaintiffs have thus far collectively propounded upon
the defendants more than 900 requests for admission, 200 requests for production,
and more than 330 interrogatories.
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suggested a need for further clarity regarding discovery moving forward. In order to

allow the parties to acknowledge, address, and resolve these issues, we directed the

parties to consult and confer and provide us with an updated case management plan.

(Doc. 152). The parties have complied with this direction, and their revised case

management plan reveals that they have agreed upon some discovery issues but have

been unable to resolve many discovery questions. (Doc. 156). We have also provided

all parties the opportunity to submit letter briefs in support of their positions regarding

the scope of discovery, and have received and reviewed their letter briefs. (Docs. 158-

163).

        Having engaged in this process, we set the following discovery and case

management limitations and timetables in this litigation:

        I.       Case Management Deadlines

        The parties were unable to come to any agreement regarding a deadline for

joinder of parties and amendment of pleadings. However, we believe that four months

from today’s date is more than sufficient for this purpose. Accordingly, we set the

following deadline for amendment of pleadings:

        Amendment of Pleadings:                        October 31, 2022

        The parties have been unable to agree upon a discovery timetable in this case,

with the plaintiffs suggesting December 30, 2022, the Defendants recommending

March 31, 2023, and the Intervenor requesting April 3, 2023. We recognize the
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complexity of the questions involved in this case, but noting that this lawsuit was first

filed on March 16, 2021, believe that all parties should conclude fact discovery prior

to the passage of two years in this litigation. Accordingly, we set the following fact

discovery deadline in this matter

      Fact Discovery:                                 February 13, 2023

      The parties have collectively recommended that dispositive motions be filed

with 120 days of the close of fact discovery. We will adopt this joint recommendation,

as follows:

      Dispositive Motions Deadline:                   June 12, 2023

      The parties further recommend the following expert discovery deadlines,

which we will adopt:

      Expert Discovery Deadlines:

              Plaintiffs and Plaintiff- Intervenor February 13, 2023

              Defendants                              April 14, 2023

              Supplemental reports:                   May 15, 2023

      Further pretrial deadlines, if necessary, will be set in consultation with all

parties after the resolution of any dispositive motions.




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      II.    Number and Duration of Depositions

      The parties have agreed on the number of depositions to be taken in this case

and the site for those depositions. Accordingly, with respect to this aspect of

discovery, IT IS ORDERED that:

      Plaintiffs and Plaintiff-Intervenor may take 20 depositions combined.

      Defendants may take 20 depositions combined.

      As for the duration of these depositions, the following durational standards are

prescribed by the Court:

      Party Depositions:                      14 hours, extended over 2 days.

      Non-party depositions:                  7 hours

      III.   Written Discovery

      The scope of written discovery remains a principal issue of contention between

the parties, in part as a result of the extensive requests which have been propounded

to date, largely without objection.2 Despite this far-reaching initial documentary

discovery, all parties were unable to reach a consensus regarding the scope of written

discovery moving forward, although it seems that the Defendants and Plaintiff-

Intervenors have reached some agreement on discovery limitations. Accordingly,




2
 In our view, only defendant Zula preserved a timely objection to the number of
written discovery requests propounded in this case. (Doc. 146). Her objection will be
sustained, in part, as discussed in this order.
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while all parties, except for Defendant Zula, will have an obligation to respond to the

previously propounded discovery set forth in Section 4.0 of the revised Case

Management Plan, (Doc. 156), going forward, the following discovery limitations,

which are consistent with but slightly more expansive than those agreed to by the

Defendants and Plaintiff-Intervenors, will govern written discovery:

             PLAINTIFFS                INTERVENOR                 DEFENDANTS

Admissions:        30                          30                       30

Interrogatories: 30                            30                       30

Requests for
Production:        30                          30                       30

      With respect to these discovery limitations, the totals set forth above apply

to each individual plaintiff and to each individual defendant but, except for

Defendant Zula, previously propounded discovery requests count against these

totals.3 As to Defendant Zula, who timely objected to the number of written

discovery demands propounded by the plaintiffs the foregoing limitations will




3
 We recognize that the plaintiffs object to this facet of any case management order,
suggesting that they are being denied adequate discovery. However, given that our
proposal calls for the defendants, except for defendant Zula, to answer nearly 900
outstanding written discovery requests, and still enables the plaintiffs to propound
additional requests on some defendants, and a total of 120 requests in each category
upon Defendant Zula, (30 by each of the four plaintiffs) we believe that the objection
is misplaced.
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apply. The plaintiffs, therefore, may revise their written discovery demands to

comport with these limitations.

      IV.     Discovery Dispute Resolution Procedures

      Finally, our review of the revised Case Management Plan indicates that the

parties have not agreed upon a practice and procedure for resolving what may be on-

going discovery disputes. Accordingly, we will prescribe the following practice:

      First, any party who believes that there has been a discovery deficiency will

communicate the nature of the deficiency in writing to opposing counsel.

      Second, the parties will meet and confer in-person or telephonically to attempt

to resolve discovery concerns within 21 days of receipt of any discovery deficiency

notice.

      Third, following this conferral process the parties will notify the court by a

joint letter of no greater than ten pages in length (5 pages per side) of any unresolved

discovery issues that request the court’s intervention, so we may convene a call to

address these matters. The Court reserves the right to order further briefing on these

matters, if necessary.

      V.      Final Procedural Matters

      Finally, the parties shall abide by the following guidelines moving forward:




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      All requests for extensions of discovery deadlines must be made at least

thirty (30) days prior to the expiration of the discovery period. Motions will be

granted only on a showing of good cause.

      Discovery in excess of these limits must be approved in advance by the

Court.

      Parties with case management questions should contact the Court through our

Deputy Clerk, Kevin Neary, at 221-3924 or Kevin_Neary@pamd.uscourts.gov. No

contact should be made with law clerks unless directed to do so by the court.

      So ordered this 30th day of June 2022.

                                               S/ Martin C. Carlson
                                               Martin C. Carlson
                                               United States Magistrate Judge




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